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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



THE DAILY WIRE, LLC et al.,

              Plaintiffs,
      v.
                                                          Civil Action No. 6:23-cv-00609-JDK
UNITED STATES DEPARTMENT
OF STATE et al.,

              Defendants.

                       PLAINTIFFS’ STATEMENT ON DISCOVERY

       The Court’s June 13, 2024, Preliminary Injunction Scheduling Order (“Order”), ECF No.

62, set today as a deadline for the parties to notify the Court if there were any disputes regarding

Defendants’ responses to Plaintiffs expedited Requests for Production and Interrogatories. After

multiple conferrals Plaintiffs are pleased to report that the parties have tentatively resolved their

various disagreements to an extent that Court intervention is not currently required.

       While there was general disagreement related to discovery as applied to the State

Department, i.e., beyond GEC, Plaintiffs are hopeful that an agreement, in principle, concerning

the provision of relevant discovery, coupled with continued good faith conferrals and practices,

will address any issues.

 Dated: July 1, 2024


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                                  CERTIFICATE OF SERVICE

        On July 1, 2024, I electronically submitted this document to the clerk of the court of the

U.S. District Court for the Eastern District of Texas using the court’s electronic case filing system. I

certify that I have served all parties electronically or by another manner authorized by Federal Rule

of Civil Procedure 5(b)(2).

                                                                 /s/ Margot J. Cleveland




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